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                EXHIBIT 28
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                                          STATE OF MICHIGAN

                        IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE


    SERGEI V. FEDOROV,                                         p.dor~,          Sargal v lad.,                  ~o ••ph   ,
                                                               Hon. KalhlBln Macdonald                            01/23/2009
           Plaintiff,
                                                                      111II1M   III~IIII! 111111111 11111111111 ~~II~II
                                                                                    09·016oe1.CB
   v.

   JOSEPH ZADA, an individual, ZADA
   ENTERPRISES, LLC, a Michigan limited
   liability company, XANDARIUS LLC, a
   Michigan       limited      liability company,
   XANDARIUS LLC, a Florida limited liability
   company, and EQUEST PROPERTIES, LLC,
   a Florida limited liability company, Jointly and
   Severally,

          Defendants.

   Jaffe Raitt Heuer & Weiss, P.C.                     Marc G. Beginin, PLLC
   Peter M. Alter (PI0145)                             Marc G. Beginin (P65576)
   Louis P. Rochkind (P24121)                          Co-Counsel for Plaintiff
   Michael F. Jacobson (P47059)                        2023 Hazel Street
   Attorneys for Plaintiff                             Eton Street Station
   27777 Franklin Road, Ste. 2500                      Birmingham, MI 48009
   Southfield, MI 48034-8214                           Ph.: (248) 593-1028
   Ph: (248) 351-3000                                  Fx.: (248) 593-1029
   Fx.: (248) 351-3082


  _ _ _ _ _ _ _ _ _ _ _ _ _--.:1


           ORDER GRANTING PLAINTIFF'S MOTION FOR APPOINTMENT OF
                   RECEIVER AND PRELIMINARY INJUNCTION

                          At a session of said COUlt, held in the City of Detroit
                                County of Wayne, State o~(f~a,> ~9

                                                       , KlUHlEEN MACDONAl.D
                          PRESENT: Hon.               -"-                            _




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           Ujxm reading Plaintiff's Motion for Appointment of Receiver and for Injunctive Relief,

   the Bl"ief and exhibits attached thereto; oral argument having been heard; Defendants having

   failed to appear at this hearing and having failed to file an answer to the Motion; the Court being

   otherwise fully advised in the premises; and it appearing that Plaintiff is entitled to the relief

   requested;

          IT IS HEREBY ORDERED that Plaintiff Sergei V. Fedorov's Motion for Appointment

   of Receiver and for Preliminary Injunction shall be and hereby is granted.

          IT IS FURTHER ORDERED THAT:

          1.     Patrick M. O'Keefe and O'Keefe & Associates ("Receiver") is appointed as the

          Receiver over the real and personal assets (the "Assets") of Defendant Joseph P. lada

          ("lada") and the other Defendants, entities owned and/or controlled by lada, lada

          Enterprises, LLC ("lada Enterprises"), Xandarius LLC ("Xandarius MI"), Xandarius LLC

          ("Xandarius FL"), Equest Properties, LLC ("Equest"), (each of lada Enterprises,

         Xandal"ius MI, Xandarius FL and Equest is a "lada Entity" and, collectively, the "lada

         Entities").( lada and the lada Entities are the Defendants.)


         2.      Anyone or more of the Defendants, including, without limitation, Zada, and/or

         any other person and/or entity acting with, for and/or in conce11 with anyone or more of

         the Defendants, is enjoined and restrained from removing, lI'ansferring, disposing of

         and/or otherwise diminishing and/or taking any action whatsoever regarding anyone or

         more (or any portion) of the Assets-including, specifically and without limitation, (i)

         real property located at 741 Lakeshore Road, Grosse Pointe Shores, Michigan, (ii) real

         prope11y located at 737 Lakeshore Road, Grosse Pointe Shores, Michigan; (iii) real

         property located at 77/79-81/83 Iverness Terrace, London, U.K., (iv) an Equestrian


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              facility in Grand Prix Village, West Palm Beach, Florida; (v) personal jewelry; (vi)

             jewelry collection; (vii) gems, including, but not limited to, diamonds; (viii) artwork,

              crystal, fumiture and antiques; (ix) motor vehicles; (x) life insurance policies; (xi) oil &

              gas leases and wells; (x) notes receivable; and (xi) any other tangible or intangible

             personal property.


             3.      Anyone or more of the Defendants, including, without limitation, Zada, and/or

             any other person and/or entity acting with, for and/or in concert with anyone or more of

             the Defendants in enjoined and restrained from committing and/or permitting further

             waste of and/or regarding the Assets.


             4.      Anyone or more of the Defendants, including, without limitation, Zada, and/or
(            any other person and/or entity acting with, for and/or in concert with anyone or more of

             the Defendants is required to yield control and possession of each of the Assets to the

             Receiver.


             5.     Anyone or more of the Defendants, including, without limitation, Zada, and/or

            any other person and/or entity acting with, for and/or in concert with anyone or more of

            the Defendants is enjoined and restrained from interfering, and each is required to

            cooperate fully, with the Receiver.


            6.      Immediately upon enuy of this Order and continuing until expiration or

            termination of the receivership, the Receiver is authorized to take any and all actions that

            the Receiver deems reasonable and appropriate to exercise full control over, and to

            prevent waste and to preserve, manage, maintain, secure, protect and safeguard the

            Assets, including, but not limited to, all cash on hand, bank accounts, credit card receipts,


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             bank deposits and other cash collateral and take such other actions as may be necessary

             and appropriate to exercise full control, to prevent waste and to preserve, secure and

             safeguard the Assets, including copying, if necessary: all books, records, notes,

             memoranda, loan documents, deeds, bills of sale, canceled checks, check ledgers,

             calendar notes, diary notes, notes, records, ledgers, electronically stored data, tape

             recordings, computer discs, or any other fmancial documents or financial infonnation in

             whatever form belonging to any of the Defendants that relate in any way to the Assets.


             7.       The Receiver shall be compensated for its services in an amount to be detennined

             by the Court based upon actual hourly charges detailed, and to be paid solely out of the

             Assets and/or the proceeds therefrom.


             8.       Neither Fedorov nor the Receiver shall be liable for any claim, obligation,

             liability, action, cause of action, cost or expense of Defendants or the Assets arising out

            of or relating to events or circumstances occurring prior to this Order, including without

            limitation, any contingent or unliquidated obligations and any liability from the

            performance of services rendered by third parties on behalf of Defendants and/or anyone

            01'   more of them, and any liability to or for which anyone or more of Defendants is/are

            currently or may ultimately be responsible and/or liable for under any applicable .laws

            and/or pertaining to the ownership, use, and/or operation of the Assets (collectively all of

            the foregoing is referred to as "Pre·Receivership Liabilities").


            9.       Neither Fedorov nor the Receiver shall be obligated to advance any funds to pay

            any Pre-Receivership Liabilities. Notwithstanding the foregoing, Receiver may pay pre-




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           Receivership Liabilities from funds collected from Assets and/or the proceeds therefrom

           with approval of the Court.


           10.    The Receiver shall file with this Court, on a regular basis, but not less often than

          quarterly, an accounting of all receipts and disbursements and a report of the operations

          of the Assets and the perfOimance of its duties under this Order, no later than thirty (30)

          days after the end of the quarter for which the accounting and repo11 has been created. A

          final report and accounting shall be filed within thirty (30) days after termination of the

          receivership.


          11.     The Receiver and its employees, agents, and attorneys shall have no personal

          liability, and no claim may be asserted against anyone or more of them relating to the

          Receiver's duties under this Order, except for claims due to their gross negligence, gross

          or willful misconduct, malicious acts and/or the failure to comply with this Court's

          orders. No bond or other surety shall be required of the Receiver,


          12.    This Court shall retain jurisdiction over this action, the Assets and the parties for

          the purpose of giving such other relief upon proper showing is consistent with this Order

          and substantial justice. The Receiver may file a motion or seek other relief from the

         Court to address any issues relating to the receivership.

         13.     The Receiver may present, by motion, a further order to the Court regarding the

  operation of the receivership, the duties ofthe Receiver and/or any other related malter.




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                   14,   The receivership shall continue until TIllthel' order of this Court,




                                                                  KATHLEEN MACDONAUJI
                                                        Hon. Kathleen Macdonald
            Dated: August - ' 2009                      Wayne County Circuit Court Jumr -"'-':
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